                                Exhibit 6




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   Tennessee Valley Authority, 1101 Market Street, Chattanooga, Tennessee 37402




   March 7, 2022



   Mr. George Nolan (gnolan@selctn.org)
   Southern Environmental Law Center
   1033 Demonbreun Street, Suite 205
   Nashville, TN 37203

   Dear Mr. Nolan:

   This responds to your February 7, 2022, appeal of the initial determination by the
   Tennessee Valley Authority (TVA) on the Southern Environmental Law Center’s (SELC)
   Freedom of Information Act (FOIA) request for information related to gas pipeline
   companies. This request was processed under tracking number 21-FOI-00178. As
   noted in your appeal letter, TVA provided an interim response on October 28, 2021, and
   SELC withdrew the remainder of the request. By letter dated February 4, 2022, the
   FOIA Officer provided TVA’s final response. For the reasons set forth below, this
   decision will be upheld on appeal.

   Exemption 4 provides that agencies may withhold “trade secrets and commercial or
   financial information obtained from a person and privileged or confidential.” 5 U.S.C. §
   552(b)(4). “Confidential” in this context refers to “commercial or financial information
   [that] is both customarily and actually treated as private by its owner and provided to the
   government under an assurance of privacy.” Food Mktg. Inst. v. Argus Leader Media,
   139 S.Ct. 2356, 2366 (2019).

   In accordance with TVA’s standard practice, the FOIA Officer contacted the submitters
   of the requested information to determine if the information is considered confidential.
   The submitter stated that this information is confidential commercial information and
   reflects the submitter’s proprietary approaches to planning, structuring, and operating
   natural gas transportation projects, which it shared with TVA only upon the condition
   that it be treated as confidential. The submitter has stated that revealing this
   information would cause it competitive harm, and TVA has no basis for questioning this
   statement.




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   Contrary to your assertions, the fact that TVA engaged in negotiations with the
   submitter does not mean that the contract cannot be covered by Exemption 4. Even
   negotiated provisions may include information provided by a counterparty which would
   reveal confidential commercial information if disclosed. Such material may still be
   subject to Exemption 4 and withheld. See Pub. Citizen Health Rrsch. Grp. v. NIH, 209
   F. Sup. 2d 37, 44 and 49-51 (D.D.C. 2002) (holding that even though a final royalty rate
   was achieved through negotiation, the submitter was required to provide the information
   to the government in order to enter into an agreement and therefore it came from the
   submitter. Given that the information was confidential and could harm the submitter if
   released, Exemption 4 applied to the negotiated item). In this case, even those
   provisions negotiated between the parties reflect the submitter’s proprietary strategy for
   these projects. As such, this material falls within the scope of Exemption 4. If TVA
   discloses this type of confidential information, companies would be deterred from
   seeking out contracts with TVA as opposed to other entities with whom they could do
   business, which would have the foreseeable harm of interfering with TVA’s ability to
   carry out its statutory mission. Therefore, I find that Exemption 4 applies to this matter.

   As to the suggestion that TVA’s FOIA regulations require submitters to mark documents
   as confidential at the time they are created, this is a misunderstanding of TVA’s
   regulations and the FOIA process. 18 CFR § 1301.8 describes the process by which
   those whose material may be subject to Exemption 4 are asked to describe whether
   they consider the material to be confidential. This process is not required to take place
   at any point prior to a FOIA request being received, nor is it a component of contract
   negotiation. As noted above, TVA’s FOIA Officer requested the submitter to state
   whether the information was considered confidential and why, and the submitter did so.
   TVA is thus in compliance with its regulations.

   I also note that while the FOIA Officer’s initial determination only referenced FOIA
   Exemption 4, the information is also protected under Exemption 5. Exemption 5 allows
   the government to withhold, among other things, confidential business information if the
   release of such information would harm the government’s commercial or financial
   interests or prevent an agency from performing its mission. The redacted information
   would, as with the submitter, reveal TVA’s strategies for this type of transaction, and
   TVA treats these strategies as confidential in order to protect its ability to negotiate with
   counterparties in the future. Release of this information would significantly undermine
   TVA’s ability to conduct such future negotiations.

   Based on the foregoing, I concur in the initial determination.

   This is TVA’s final determination on this FOIA request. Under the FOIA, you have the
   opportunity to seek judicial review of this final determination. The provisions of
   5 U.S.C. § 552(a)(4)(B) provide the processes for seeking such review.




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   Alternatively, the Office of Government Information Services (OGIS), and the Federal
   FOIA Ombudsman, offer mediation services to resolve disputes between FOIA
   requesters and federal agencies as a non-exclusive alternative to litigation. Using OGIS
   services does not affect your right to pursue litigation. You may contact OGIS in any of
   the following ways:

   Office of Government Information Services
   National Archives and Records Administration
   8601 Adelphi Road (OGIS)
   College Park, MD 20740-6001
   ogis@nara.gov
   ogis.archives.gov
   Phone: 202-741-5770
   Phone (toll-free) 1-877-684-6448

   Sincerely,




   Buddy Eller
   Vice President, Communications & Public Relations




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